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                                                                UNITED STATES BANKRUPTCY COURT
                             15                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                         SAN FRANCISCO
                             16
                                  In re:                                           Bankruptcy Case
                             17
                                                                                   No. 19-30088 (DM)
                             18
                                  PG&E CORPORATION,                                Chapter 11
                             19
                                           - and -                                 (Lead Case)
                             20
                                  PACIFIC GAS AND ELECTRIC                         (Jointly Administered)
                             21   COMPANY,
                                                      Debtors.                     DEBTORS’ NOTICE OF ACCEPTANCE OF
                             22                                                    THE COURT’S TENTATIVE RULING ON THE
                                  ☐Affects PG&E Corporation                        OFFICIAL COMMITTEE OF TORT
                             23   ☐Affects Pacific Gas and Electric Company        CLAIMANTS’ EX PARTE APPLICATION FOR
                                                                                   ORDER EXTENDING TIME FOR HEARING
                             24   ☒Affects both Debtors                            ON MOTION OF DEBTORS PURSUANT TO §§
                             25   * All papers shall be filed in the Lead Case,    105(a), 363, AND 503(c) FOR ENTRY OF AN
                                  No. 19-30088 (DM).                               ORDER (I) APPROVING SHORT-TERM
                             26                                                    INCENTIVE PLAN AND (II) GRANTING
                                                                                   RELATED RELIEF (ECF NO. 782)
                             27

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                              1          PG&E Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company (the “Utility”), as

                              2   debtors and debtors in possession (collectively, “PG&E” or the “Debtors”) in the above-captioned
                              3
                                  chapter 11 cases (the “Chapter 11 Cases”), submit this Notice in response to the Court’s tentative
                              4
                                  ruling on March 16, 2019 with regard to the ex parte Application of the Official Committee of Tort
                              5
                                  Claimants (the “TCC”) (ECF No. 931 (the “TCC Motion”)) for an order extending the time for
                              6
                                  hearing and for the TCC to file its opposition to the Motion of Debtors Pursuant to 11 U.S.C. §§
                              7

                              8   105(a), 363, and 503(c) for Entry of an Order (I) Approving Short-Term Incentive Plan and (II)

                              9   Granting Related Relief (ECF No. 782 (the “2019 STIP Motion”)).
                             10          The Debtors do not object to the Court’s tentative ruling and the scheduling set forth therein,
                             11
                                  and accordingly agree that the March 18, 2:00 p.m. hearing should be dropped from the calendar.
                             12
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                             13
                                  Dated: March 18, 2019
      767 Fifth Avenue




                             14
                                                                                     WEIL, GOTSHAL & MANGES LLP
                             15
                                                                                     KELLER & BENVENUTTI LLP
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                             17                                                      By: /s/ Tobias S. Keller
                                                                                        Tobias S. Keller
                             18
                                                                                     Proposed Attorneys for Debtors
                             19                                                      and Debtors in Possession
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